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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                 Miami Division

 JANE DOE,                                                              Case No: 1:25-cv-20757-JB/Torres

         Plaintiff,

 vs.

 STEVEN K. BONNELL II,

       Defendant.
 __________________________________/


                    PLAINTIFF JANE DOE’S MOTION FOR ENTRY OF AGREED ORDER
                        TO COMPEL LOLCOW LLC TO REMOVE VIDEOS

         COMES NOW Plaintiff Jane Doe, by and through undersigned counsel, and respectfully

 requests that the Court enter an agreed proposed order to compel Lolcow LLC/Kiwi Farms to

 remove specified URLs that link to the Video, and for the imposition of costs and attorney’s fees

 on Defendant, as follows:

         1.       Plaintiff has been engaged in on-going efforts to have the Video 1 removed from the

 multiple different platforms on which it was published, including the Kiwi Farms platform. Kiwi

 Farms is managed and operated by Lolcow LLC. The Video was originally published on Kiwi

 Farms on November 29, 2024. (See ECF 1). On February 20, 2025, two days after the Complaint

 in this action was filed, the custodian of records of Kiwi Farms removed the original post of the

 Video, and replaced it with the following message:




 1
  The Video is that certain video depicting Plaintiff that was non-consensually shared by Defendant Bonnell, and as
 further defined in the Complaint. ECF 1.
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        In light of a lawsuit filed against Destiny for allegedly unlawful dissemination of
        private images, the Kiwi Farms has made private the videos which may be in
        contention. No party to this lawsuit has formally raised issue with, or threatened us
        because of, these particular videos, and we would generally not allow any person
        to obfuscate content on this website. This decision is done out of an abundance of
        caution for the potential victims.

        We are attempting to balance two points:

        (1)     the inherent public interest in one of the most prolific, well-known
                liberal political pundits in the whole of the United States, and
        (2)     the privacy and safety of those featured in this content.

        Putting the videos behind a registration barrier, in our opinion, will practice harm
        reduction by limiting the spread of this content to users already on the Kiwi Farms
        who are participating in the discussion.

        We are sorry for those who have been negatively impacted by what appears to be a
        reckless disregard for the privacy and mental wellbeing of innocent people by a
        person with an inordinate amount of influence and wealth.

        Anyone attempting to assert that the Kiwi Farms is the problem, and not the
        individuals who caused this breach of trust, is perhaps hoping to divert attention
        and culpability for actions which they are solely responsible for.

                                                      Kind regards,
                                                      Joshua Moon
                                                      Custodian of Records

        See https://kiwifarms.st/threads/steven-bonnell-ii-destiny-destiny-gg.29205/page-981.

        2.      Although the original post which included the link to the Video was removed by

 Kiwi Farms, the Video resurfaced in multiple other posts on Kiwi Farms. Plaintiff had a subpoena

 served on Lolcow LLC on May 10, 2025. The subpoena requested the production of certain

 documents, and also the removal of the links to the Video depicting Plaintiff.
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        3.      Lolcow LLC/Kiwi Farms has cooperated with Plaintiff’s requests to produce

 documents, and has expressed its willingness to remove all specified URLs which link to the Video

 upon receipt of an order from this Court. Lolcow LLC has reviewed the proposed order, attached

 hereto in redacted form as Exhibit A, and has stated that it will not object and will comply once

 the order is entered by the Court. Plaintiff is simultaneously filing a Motion for Leave to File Under

 Seal the unredacted proposed order which contains the specific URLs that link to the Video.

        4.      Pursuant to the Local Rules, Plaintiff met and conferred with Defendant regarding

 the instant motion. Defendant does not object to the entry of the proposed order to compel Lolcow

 LLC to remove the Video(s).

        5.      Plaintiff also requests an award of attorney’s fees and related costs pursuant to 15

 U.S.C. § 6851, incurred as a direct result of Defendant’s unlawful disclosure of the Video.

 Plaintiff’s expenses include legal and professional services necessary to pursue removal of the

 unlawful content from Kiwi Farms. Although Defendant has averred efforts to remove the

 unlawful content (ECF 42-1, ¶¶ 14-15), he has provided no evidence of such efforts and has not

 succeeded in having any content removed. The Plaintiff was forced to act at her own expense to

 mitigate ongoing harm. The Defendant should bear the cost of that mitigation. See 15 U.S.C. §

 6851(b)(3)(A)(i)(“an individual may recover…reasonable attorney’s fees and other litigation costs

 reasonably incurred”).

        WHEREFORE, Plaintiff respectfully requests that this Court order Lolcow LLC to remove

 the specific URLs which link to the Video on Kiwi Farms, as set forth in the proposed order,

 impose attorney’s fees and costs on Defendant, and order any other relief it deems just and proper.
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        Dated: May 21, 2025.

 JSP LAW, LLC                               SANCHEZ-MEDINA GONZALEZ QUESADA
 Joan Schlump Peters                        LAGE GOMEZ & MACHADO, LLP
 (admitted pro hac vice)                    CARLOS A. GARCIA PEREZ
 4819 W. Blvd. Ct.                          Florida Bar No. 106895
 Naples, FL 34103                           GUSTAVO D. LAGE
 Tel. 305-299-4759                          Florida Bar No. 972551
 Email: petersjoan@bellsouth.net            201 Alhambra Circle, Suite 1205
 Counsel for Plaintiff JANE DOE             Coral Gables, Florida, 33134
                                            Tel.: (305) 377-1000
                                            Primary E-Mail: cgarciaperez@smgqlaw.com
                                            Primary E-Mail: glage@smgqlaw.com
                                            Counsels for Plaintiff

                                                  /s/ Carlos A. Garcia Perez
                                            By:_________________________________
                                                  CARLOS A. GARCIA PEREZ
                                                  Attorney for Plaintiff


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk

 and served via the CM/ECF filing portal on May 21, 2025, to the below counsel of record.


                                                          /s/ Carlos A. Garcia Perez
                                                    By:_________________________________
                                                          CARLOS A. GARCIA PEREZ
                                                          Attorney for Plaintiff

 BILZIN SUMBERG BAENA PRICE & AXELROD LLP
 1450 Brickell Avenue, Suite 2300
 Miami, Florida 33131
 Tel.: (305) 374-7580
 Fax: (305) 374-7593
 Robert L. Raskopf, Esq. Florida Bar No.: 1040022 rraskopf@bilzin.com
 Patricia M. Patino, Esq. Florida Bar No.: 1007702 ppatino@bilzin.com
 Counsel for Defendant STEVEN K. BONNELL II
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 BERK BRETTLER LLP
 9119 West Sunset Blvd.
 West Hollywood, CA 90069-3106
 Tel: (310) 278-2111
 Andrew B. Brettler, Esq. California Bar No.: 262928 abrettler@berkbrettler.com
 Jake A. Camara, Esq. California Bar No.: 305780 jcamara@berkbrettler.com
 Counsel for Defendant STEVEN K. BONNELL II
